                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06cr256-5


UNITED STATES OF AMERICA,                         )
                                                  )
Vs.                                               )             ORDER
                                                  )
KIMBERLY NICOLE HOLT,                             )
                                                  )
                  Defendant.                      )
________________________________________          )


       THIS CAUSE coming on to be heard and being heard before the undersigned,

pursuant to a warrant for arrest issued by the undersigned on December 19, 2006 directing

that Judy Ledford Hanson appear and show cause why she should not be held in contempt

of court for failure of Ms. Hanson to comply with the terms and conditions of an order

releasing the defendant, Kimberly Nicole Holt to Ms. Hanson’s custody. It appearing to the

court at the call of this matter on for hearing that Ms. Hanson was present and represented

by Walter E. Daniels, Jr. and that the Government was present through Assistant United

States Attorney Jill Rose and from the records in this cause and the arguments of counsel for

the defendant and arguments of the Assistant United States Attorney, the court makes the

following findings:

       Findings.      On October 3, 2006 the defendant was charged in a bill of indictment

with conspiring to manufacture and possess with intent to distribute a quantity of

methamphetamine. On November 7, 2006 the undersigned entered an order releasing the

defendant on terms and conditions of pretrial release. Those conditions released the



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defendant to the custody of Judy Ledford Hanson who agreed to supervise the defendant in

accordance with all conditions of release and to use every effort to assure the appearance of

the defendant at all scheduled court proceedings and to notify the court immediately in the

event the defendant violates any condition of release or disappears. On December 19, 2006

the defendant was scheduled to appear for the purpose of entering a plea of guilty, pursuant

to Rule 11 of the Federal Rules of Criminal Procedure. The defendant did not appear.

Inquiry was made as to the location of the defendant. The court was advised that neither the

Assistant U.S. Attorney nor the probation office knew of the location of the defendant,

although a deputy U.S. Marshal stated that perhaps the defendant had been placed in the

custody of North Carolina state officials sometime previous to December 19, 2006.

       Due to fact that the defendant had not appeared and the court was not advised that Ms.

Hanson had used efforts to assure the appearance of the defendant at all scheduled court

proceedings and that Ms. Hanson had not notified the court of the reasons for the defendant’s

non-appearance, the undersigned entered an order of arrest ordering that Ms. Hanson be

brought before the court and to show cause why she should not be held in contempt. On

February 12, 2007 Ms. Hanson was taken into custody and a hearing was held as to cause,

if any there be, why Ms. Hanson had not complied with the terms and conditions of the order

of release. Upon inquiry, Ms. Hanson stated that the defendant had been taken into custody

by officials of the State of North Carolina sometime previous to December 19, 2006. Ms.

Hanson stated that she had contacted the United States Probation Office previous to

December 19, 2006 and advised the probation office that the defendant had been taken into


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custody. The United States Probation Office stated to the court that they had no record or

recollection that Ms. Hanson had in fact contacted the United States Probation Office.

       Discussion: It appears that Ms. Hanson has violated the terms of the order setting

conditions of release by failing to notify the court that the defendant was not going to be

appearing before the court on December 19, 2006. However, it appears that due to the fact

that Ms. Hanson had now been in custody for a period of approximately 24 hours, that Ms.

Hanson has, as a result of said incarceration, purged herself of her contempt.

                                         ORDER

       WHEREFORE, the court finds the following:

       1.     That Judy Ledford Hanson has been in contempt of the order of the court

placing the defendant in Ms. Hanson’s presence and requiring Ms. Hanson to supervise the

defendant in accordance with all conditions of release and to use every effort to assure the

appearance of the defendant at all scheduled court proceedings and to notify the court

immediately in the event the defendant violates any condition of release or disappears.

       2.     That Judy Ledford Hanson, by serving a period of incarceration of

approximately 24 hours, has purged herself of her contempt.

       3.     That the order of arrest issued in this matter is hereby STRICKEN and Ms.

Hanson is ordered to be released.

       Entered in open court on February 13, 2007.




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                              Signed: February 22, 2007




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